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                            Attorneys for Plaintiffs and Counter-Defendants
                        9   NEO4J, INC. and NEO4J SWEDEN AB
                   10                                         UNITED STATES DISTRICT COURT

                   11                                   NORTHERN DISTRICT OF CALIFORNIA

                   12       NEO4J, INC., a Delaware corporation, and             CASE NO. 5:18-CV-07182-EJD
                            NEO4J SWEDEN AB, a Swedish
                   13       corporation,                                         [PROPOSED] ORDER RE PLAINTIFFS’
                                                                                 ADMINISTRATIVE MOTION TO FILE
                   14                           Plaintiffs,                      PORTIONS OF PLAINTIFFS’ MOTION
                                                                                 FOR SUMMARY JUDGMENT AND
                   15               v.                                           EXHIBITS TO SUPPORTING
                                                                                 DECLARATIONS UNDER SEAL
                   16       PURETHINK LLC, a Delaware limited
                            liability company, IGOV INC., a Virginia
                   17       corporation, and JOHN MARK SUHY, an
                            individual,
                   18
                                                Defendants.
                   19

                   20       AND RELATED COUNTERCLAIM.

                   21
                            NEO4J, INC., a Delaware corporation, and             CASE NO. 5:19-CV-06226-EJD
                   22       NEO4J SWEDEN AB, a Swedish
                            corporation,
                   23
                                                Plaintiffs,
                   24
                                    v.
                   25
                            GRAPH FOUNDATION, INC., an Ohio
                   26       corporation, GRAPHGRID, INC., an Ohio
                            corporation, and ATOMRAIN INC., a
                   27       Nevada corporation,

                   28                           Defendants.
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H OPKINS & C ARLEY
  ATTORNEYS AT LAW
                            [PROPOSED] ORDER RE PLAINTIFFS’ ADMINISTRATIVE MOTION TO FILE PORTIONS OF AND EXHIBITS TO PLAINTIFFS’
 SAN JOSE   PALO ALTO       MOTION FOR SUMMARY JUDGMENT AND SUPPORTING DECLARATIONS UNDER SEAL
                            5:18-CV-07182-EJD; AND 5:19-CV-06226-EJD
                            Case 5:19-cv-06226-EJD            Document 92-3          Filed 12/11/20      Page 2 of 3



                        1           Now before the Court is Plaintiffs Neo4j, Inc. and Neo4j Sweden AB’s (collectively
                        2   “Plaintiffs”) Administrative Motion to File Portions of and Exhibits to Plaintiffs’ Motion for
                        3   Summary Judgment and Supporting Declarations Under Seal (“Administrative Motion”). Having
                        4   considered the Administrative Motion and all papers submitted by Plaintiffs in support of the
                        5   Administrative Motion and good cause appearing, the Court finds that:
                        6           1.      There exists a compelling overriding confidentiality interests that have overcome
                        7   the right of public access to the record of the following documents, and there is therefore good
                        8   cause to file the documents under seal:
                        9           2.
                   10        Identification of Materials to be Sealed                         Designating Party Information
                   11        Redactions to Plaintiffs’ Memorandum of Points and               Neo4j, Inc. and Neo4j Sweden
                   12        Authorities in support of Consolidated Motion for                AB’s (collectively “Plaintiffs”)
                             Summary Judgment at 6:9-11 and 6:14-15.                          containing confidential information
                   13                                                                         drawn from Exhibits 6 and 7 to the
                                                                                              Ratinoff MSJ Decl.
                   14

                   15        Declaration of Jeffrey M. Ratinoff in Support of                 Plaintiffs’ private, confidential, and
                             Plaintiffs’ Consolidated Motion for Summary Judgment             commercially sensitive business
                   16
                             (“Ratinoff MSJ Decl.”) at ¶ 8, Exhibit 6 in its entirety.        information
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                   18        Ratinoff MSJ Decl. at ¶ 9, Exhibit 7 in its entirety.            Plaintiffs’ private, confidential, and
                                                                                              commercially sensitive business
                   19                                                                         information

                   20
                             Ratinoff MSJ Decl. at ¶ 29, portions of Exhibit 27 from          Plaintiffs’ private, confidential, and
                   21        Bates stamp IGOV00000298.0002-                                   commercially sensitive business
                             IGOV00000298.0006                                                information
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                   23
                             Ratinoff MSJ Decl. at ¶ 128, Exhibit 126 in its entirety.        Plaintiffs’ private, confidential, and
                   24                                                                         commercially sensitive business
                                                                                              information
                   25

                   26        Declaration of John Broad in Support of Plaintiff’s              Plaintiffs’ contractual obligation
                             Consolidated Motion for Summary Judgment (“Broad                 owed to third party copyright
                   27        MSJ Decl.”) at ¶ 8, Exhibit 3 in its entirety.                   holder
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                            [PROPOSED] ORDER RE PLAINTIFFS’ ADMINISTRATIVE MOTION TO FILE PORTIONS OF AND EXHIBITS TO PLAINTIFFS’
 SAN JOSE   PALO ALTO       MOTION FOR SUMMARY JUDGMENT AND SUPPORTING DECLARATIONS UNDER SEAL
                            5:18-CV-07182-EJD; AND 5:19-CV-06226-EJD
                            Case 5:19-cv-06226-EJD           Document 92-3         Filed 12/11/20      Page 3 of 3



                        1
                             Broad MSJ Decl. at ¶ 22, Exhibit 12 in its entirety.           Plaintiffs’ private, confidential, and
                        2                                                                   commercially sensitive business
                                                                                            information
                        3

                        4
                             Broad MSJ Decl. at ¶ 23, Exhibit 13 in its entirety.           Plaintiffs’ private, confidential, and
                        5                                                                   commercially sensitive business
                                                                                            information
                        6

                        7            3.    A substantial probability exists that overriding confidentiality interests will be

                        8   prejudiced if the record is not sealed;

                        9            4.    The proposed sealing is narrowly tailored; and

                   10                5.    No less restrictive means exist to achieve these overriding interests.

                   11                IT IS THEREFORE ORDERED that Plaintiffs’ Administrative Motion is GRANTED

                   12       with respect to the documents set forth above.

                   13                IT IS SO ORDERED.

                   14

                   15       Dated:                        , 2021
                                                                                Honorable Edward J. Davila
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  ATTORNEYS AT LAW
                            [[PROPOSED] ORDER RE PLAINTIFFS’ ADMINISTRATIVE MOTION TO FILE PORTIONS OF PLAINTIFFS’ MOTION FOR
 SAN JOSE   PALO ALTO       SUMMARY JUDGMENT AND EXHIBITS TO SUPPORTING DECLARATIONS UNDER SEAL; CASE NOS. 5:18-CV-07182-EJD; AND
                            5:19-CV-06226-EJD
